Case 4:18-cv-00474-ALM Document 409 Filed 02/25/20 Page 1 of 11 PageID #: 21226



                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

  INNOVATION SCIENCES, LLC,
            Plaintiff,
       v.                                   Civil Action No.4:18-cv-00474-ALM
                                            Consolidated Lead Case
  AMAZON.COM, INC., ET AL.,
           Defendants.
  INNOVATION SCIENCES, LLC,
            Plaintiff,
       v.                                   Civil Action No.4:18-cv-00475-ALM
                                            Member Case
  RESIDEO TECHNOLOGIES, INC.,
            Defendant.
  INNOVATION SCIENCES, LLC,
            Plaintiff,
       v.                                   Civil Action No.4:18-cv-00476-ALM
                                            Member Case
  HTC CORPORATION,
            Defendant.



    INNOVATION’S MOTION FOR SUMMARY JUDGMENT AGAINST AMAZON
Case 4:18-cv-00474-ALM Document 409 Filed 02/25/20 Page 2 of 11 PageID #: 21227



    I. INTRODUCTION
        Plaintiff Innovation Sciences LLC (“Innovation”) respectfully moves for partial summary

 judgment pursuant to Fed. R. Civ. P. 56(a) that the Arling reference does not incorporate by

 reference the Intel Technology Journal nor the ZigBee Specification via a footnote to an article

 therein. There is no genuine dispute as to any material fact relating to how the Arling reference

 purports to incorporate by reference the Intel Technology Journal and Innovation is entitled to

 judgment as a matter of law that the Arling reference does not effectively incorporate the Intel

 Technology Journal nor the ZigBee Specification by reference.

    II. LEGAL STANDARDS

            A. Summary Judgment
        The purpose of summary judgment is to isolate and dispose of factually unsupported claims

 or defenses. Celotex Corp. v. Catrett, 477 U.S. 317, 323–24 (1986). Summary judgment is proper

 under Rule 56(a) of the Federal Rules of Civil Procedure “if the movant shows that there is no

 genuine dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

 Fed. R. Civ. P. 56(a). A dispute about a material fact is genuine when “the evidence is such that a

 reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby Inc.,

 477 U.S. 242, 248 (1986). Substantive law identifies which facts are material. Id. The trial court

 “must resolve all reasonable doubts in favor of the party opposing the motion for summary

 judgment.” Casey Enters., Inc. v. Am. Hardware Mut. Ins. Co., 655 F.2d 598, 602 (5th Cir. 1981).

        The party seeking summary judgment bears the initial burden of informing the court of its

 motion and identifying “depositions, documents, electronically stored information, affidavits or

 declarations, stipulations (including those made for purposes of the motion only), admissions,

 interrogatory answers, or other materials” that demonstrate the absence of a genuine issue of

 material fact. Fed. R. Civ. P. 56(c)(1)(A); Celotex, 477 U.S. at 323. If the movant bears the burden

 of proof on a claim or defense for which it is moving for summary judgment, it must come forward

 with evidence that establishes “beyond peradventure all of the essential elements of the claim or

 defense.” Fontenot v. Upjohn Co., 780 F.2d 1190, 1194 (5th Cir. 1986). Where the nonmovant


                                                   1
Case 4:18-cv-00474-ALM Document 409 Filed 02/25/20 Page 3 of 11 PageID #: 21228




 bears the burden of proof, the movant may discharge the burden by showing that there is an absence

 of evidence to support the nonmovant’s case. Celotex, 477 U.S. at 325; Byers v. Dall. Morning

 News, Inc., 209 F.3d 419, 424 (5th Cir. 2000). Once the movant has carried its burden, the

 nonmovant must “respond to the motion for summary judgment by setting forth particular facts

 indicating there is a genuine issue for trial.” Byers, 209 F.3d at 424 (citing Anderson, 477 U.S. at

 248–49). A nonmovant must present affirmative evidence to defeat a properly supported motion for

 summary judgment. Anderson, 477 U.S. at 257. Mere denials of material facts, unsworn

 allegations, or arguments and assertions in briefs or legal memoranda will not suffice to carry this

 burden. Rather, the Court requires “‘significant probative evidence’” from the nonmovant to

 dismiss a request for summary judgment. In re Mun. Bond Reporting Antitrust Litig., 672 F.2d 436,

 440 (5th Cir. 1982) (quoting Ferguson v. Nat'l Broad. Co., 584 F.2d 111, 114 (5th Cir. 1978)). The

 Court must consider all of the evidence but “refrain from making any credibility determinations or

 weighing the evidence.” Turner v. Baylor Richardson Med. Ctr., 476 F.3d 337, 343 (5th Cir. 2007).

            B. Incorporation by Reference
        To properly incorporate by reference, the Federal Circuit has noted:

                Material not explicitly contained in the single, prior art document
                may still be considered for purposes of anticipation if that material is
                incorporated by reference into the document. Incorporation by
                reference provides a method for integrating material from various
                documents into a host document—a patent or printed publication in
                an anticipation determination—by citing such material in a manner
                that makes clear that the material is effectively part of the host
                document as if it were explicitly contained therein. To incorporate
                material by reference, the host document must identify with
                detailed particularity what specific material it incorporates and
                clearly indicate where that material is found in the various
                documents.
 Advanced Display Systems, Inc. v. Kent State University, 212 F.3d 1272, 1282 (Fed. Cir. 2000)

 (emphasis added, internal citations omitted). “Whether and to what extent material has been

 incorporated by reference into a host document is a question of law.” Id. at 283 (citing Quaker City

 Gear Works, Inc. v. Skil Corp., 747 F.2d 1446, 1453–54, 223 USPQ 1161, 1166 (Fed. Cir. 1984)).




                                                    2
Case 4:18-cv-00474-ALM Document 409 Filed 02/25/20 Page 4 of 11 PageID #: 21229



      III. STATEMENT OF UNDISPUTED MATERIAL FACTS
 1.    The Arling reference cites to the “Intel Technical Journal” is as follows:
                 A background and overview of home interoperability technologies
                 and projected features may be found in the Intel Technical Journal,
                 Volume 6, Issue 4, published Nov. 15, 2002 entitled “Interoperable
                 Home Infrastructure” which is fully incorporated by reference
                 herein.

 Ex. 1, Arling at 1:30-35 (emphasis added). Arling’s only other mention of Intel information is:
                 Though promising in their goals and objectives, the UPnP, HAVii,
                 Intel Interoperability Infrastructure, etc. do not currently provide
                 for many advanced control based features relating to networked
                 home control and automation environments.

 Id. at 1:36-40 (emphasis added).

 2. The actual name of the journal Arling purports to incorporate by reference is the Intel

      Technology Journal, not the Intel Technical Journal. Ex. 2, Intel Technology Journal.

 3. The Intel Technology Journal is a 78-page publication comprised of a Preface, Forward, and

      7 separate articles that are credited to 22 separate authors. Id.

 4. The November 15, 2002 Intel Technology Journal includes an article entitled “Meeting the

      Demands of the Digital Home” that has an “Appendix A” with footnotes, including footnote

      25 that states in its entirety: “25. ZigBee Alliance. http://www.zigbee.com/”. Id. at

      DEFS_00001121.

      IV. ARGUMENT

             A. The Intel Technology Journal is Not Effectively Incorporated by Reference
                Into Arling as a Matter of Law
         Amazon relies on Arling as allegedly invalidating prior art to the ‘983, ‘918, and ‘798

 Patents at issue in this case. Moreover, Amazon’s expert, David B. Johnson, Ph.D. relies on

 Arling’s purported incorporation by reference of the “Intel Technical Journal” for finding certain

 claim elements within Arling in his anticipation and obviousness analyses. Arling, however,

 does not meet the legal requirements to effectively incorporate material from the Intel

 Technology Journal document into Arling as a host document.


                                                    3
Case 4:18-cv-00474-ALM Document 409 Filed 02/25/20 Page 5 of 11 PageID #: 21230




        Under Federal Circuit precedent, to properly incorporate material from a document into a

 host document by reference “the host document must identify with detailed particularity what

 specific material it incorporates and clearly indicate where that material is found in the various

 documents.” Advanced Display Systems, Inc. v. Kent State University, 212 F.3d 1272, 1282

 (Fed. Cir. 2000) (emphasis added, internal citations omitted). “Whether and to what extent

 material has been incorporated by reference into a host document is a question of law.” Id. at

 283 (citing Quaker City Gear Works, Inc. v. Skil Corp., 747 F.2d 1446, 1453–54, 223 USPQ

 1161, 1166 (Fed. Cir. 1984)).

        Arling’s cite to the “Intel Technical Journal” is as follows:
                A background and overview of home interoperability technologies
                and projected features may be found in the Intel Technical
                Journal, Volume 6, Issue 4, published Nov. 15, 2002 entitled
                “Interoperable Home Infrastructure” which is fully incorporated by
                reference herein.

 Ex. 1, Arling at 1:30-35 (emphasis added). Arling’s only other mention of Intel information is:
                Though promising in their goals and objectives, the UPnP,
                HAVii, Intel Interoperability Infrastructure, etc. do not currently
                provide for many advanced control based features relating to
                networked home control and automation environments.

 Id. at 1:36-40 (emphasis added).
        There are at least 4 reasons the Arling reference does not effectively incorporate the Intel

 Technology Journal.

        First, the obvious purpose of requiring that an incorporation by reference be “identif[ied]

 with detailed particularity” (Advanced Display Systems at 212 F.3d at 1282) is for others to be

 able to locate the document and the material to be relied on within the document. Arling

 specifically cites the “Intel Technical Journal.” That is a misnomer; such a journal does not

 exist. A person looking for “Intel Technical Journal” would never find it. The document that

 Arling presumably intended to incorporate by reference is called the “Intel Technology Journal.”

 Ex. 2. Arling does not meet the incorporation by reference standard of identifying the Intel




                                                  4
Case 4:18-cv-00474-ALM Document 409 Filed 02/25/20 Page 6 of 11 PageID #: 21231




 Technology Journal with detailed particularity because it instead identifies a non-existent

 journal.

        Second, assuming Arling intended to incorporate by reference material from the Intel

 Technology Journal produced in this case as DEFS_00001055-1132 (Ex. 2), Arling fails to do so

 effectively. As can be readily seen by Ex. 2, the Intel Technology Journal is a voluminous 78-

 page publication comprised of a Preface, Forward, and 7 separate articles that are credited to 22

 separate authors. Arling’s general reference to the voluminous Intel Technology Journal

 publication is not sufficient to incorporate any specific portion of it. “Under [the Advanced

 Display Systems] standard, a general reference to a voluminous publication is not sufficient to

 incorporate by reference a specific portion of [the voluminous publication] document. That is

 because such a reference does not identify with ‘detailed particularity’ what ‘specific material’ it

 incorporates into the host document. Nor does a general reference indicate ‘where’ that material

 is found in the allegedly incorporated document.” SkinMedica, Inc. v. Histogen Inc., 2011 WL

 2066619, at *7 (S.D. Cal. 2011), aff’d, 727 F.3d 1187, 1207 (Fed. Cir. 2013). Arling does not

 identify with detailed particularity what specific material from the 7 articles by 22 authors in the

 78-page Intel Technology Journal it incorporates. Failing to meet that standard, material from

 the Intel Technology Journal is not effectively incorporated into Arling as the host document.

        Third, again assuming Arling intended to incorporate by reference the Intel Technology

 Journal, that document is aspirational in nature and, as admitted by Arling, covers projected

 features and does not reflect what actually existed in the prior art at the time of its November 15,

 2002 publication. Ex. 1, Arling at 1:30-33. This emphasizes the necessity for Arling, as a host

 document, to “identify with detailed particularity what specific material it incorporates and

 clearly indicate where that material is found” (Advanced Display Systems, 212 F.3d at 1282) so

 that existing technology and non-existent aspirational technology are distinguished for prior art
 purposes. Arling itself notes that “[t]hough promising in their goals and objectives, the … Intel

 Interoperability Infrastructure, etc. do not currently provide for many advanced control based

 features relating to networked home control and automation environments.” Ex. 1, Arling at


                                                  5
Case 4:18-cv-00474-ALM Document 409 Filed 02/25/20 Page 7 of 11 PageID #: 21232




 1:36-40. The Preface to the Intel Technology Journal couches the entire publication in terms of

 the “not-so-distant future” and references “as-yet-to-be created gadgets.” Ex. 2 at

 DEFS_00001057. The Preface notes “[t]hese new possibilities for a wide range of products and

 services are under development today. The digital home is possible if consumer-electronics

 manufacturers and computer companies start integrating networking technologies into products.”

 Id. Dr. Johnson, Amazon’s expert, relies on multiple articles from the Intel Technology Journal.

 The article for the claim elements of encoding, decoding, compression and decompression is on

 its face talking about future technology. Id. at DEFS_00001060 (“In the future. these two

 clusters will increasingly communicate with each other and form the basis for what we refer to as

 the Digital Home;” “The new home devices that emerge will combine the power of the PC . . .

 with . . . CE devices. . . This will result in a number of innovative usage scenarios…”). The

 same is true for the article relied on by Amazon’s expert Dr. Johnson for the claim elements

 requiring a short range wireless communication via ZigBee. Id. at DEFS_00001111 (“In the

 near future, homes will be equipped with wireless networks;” “to support these demanding usage

 models, significant wireless networking innovations are required;” “Finally, we provide an

 outline of the key technology problems that must be solved”).

        Given the forward-looking nature of the Intel Technology Journal, any specific technical

 material regarding existing prior art technology to be incorporated into Arling should have been

 identified with detailed particularity and Arling should have clearly indicated where that

 material is found within the document. Because Arling fails to do so, the Intel Technology

 Journal must be treated as a separate reference, a separate reference for use in a distinct

 obviousness combination under 35 U.S.C. §103. Amazon did not disclose the Intel Technology

 Journal as a separate reference in either its May 31, 2019 Preliminary Election of Asserted Prior

 Art or its December 4, 2019 Final Election of Asserted Prior Art.




                                                  6
Case 4:18-cv-00474-ALM Document 409 Filed 02/25/20 Page 8 of 11 PageID #: 21233



            B. The ZigBee Alliance Specification is Not Incorporated by Reference Into The
               Intel Technology Journal Which is Not Effectively Incorporated by
               Reference Into Arling as a Matter of Law
        Amazon’s reliance on Arling’s incorporation of the misnamed Intel Technology Journal

 to meet the asserted claims’ limitation of a short range wireless communication via ZigBee is

 even more attenuated, indeed having seven steps of attenuation. Amazon’s expert Dr. Johnson

 incorporates into his invalidity position: (i) details from an undisclosed specification (ZigBee

 Specification prior to November 2002), (ii) based on an undisclosed homepage of the ZigBee

 Alliance website (prior to November 15, 2002) which does not disclose the ZigBee

 Specification, (iii) cited in a footnote (fn. 25), (iv) in an Appendix (Appendix A), (v) to an

 article (entitled “Meeting the Demands of the Digital Home”), (vi) in the November 15, 2002

 “Intel Journal,” (vii) referenced in Arling. Specifically, Dr. Johnson states:
                The Intel Journal, which Arling fully incorporated by reference,
                discloses that “[r]econfigurable radios should then be configurable
                to handle 802.11 a,b,g, low-rate consumer devices (lower
                requirement than 802.11) [25], and perhaps future high-data-rate
                (~100-500 Mbps) wireless personal area networks [1] and USB
                standards.” Intel Journal at 66-67. Footnote 25 there cites “ZigBee
                Alliance. http://www.zigbee.com/.” Id. Based on this disclosure
                and the knowledge of a person of skill of the ZigBee Specification
                as discussed in detail in Section IX above, a person of ordinary
                skill would have recognized that ZigBee would be one option for
                the short range wireless communication system disclosed in
                Arling. See generally ZigBee Specification (publicly available
                prior to the effective filing date of the asserted patents); Tiejun
                Wang Dep. Tr. at 63:24-25 (named inventor of each asserted patent
                admitted he did not invent ZigBee).

 Ex. 3, Johnson Report at ¶ 329. The Appendix at pages 66-67 of the Intel Technology Journal is

 purely aspirational. Immediately preceding the portion cited by Dr. Johnson in ¶ 329 of his

 report, the Appendix discusses “Reconfigurable Radios” and notes “[s]upport for a wide variety

 of consumer wireless PHY/MAC layers will be possible… So an example radio might have a

 very flexible PHY/MAC … and it might use a common technique like 802.11…” Ex. 2 at

 DEFS_00001120. Arling does not itself disclose short range wireless communication via

 ZigBee to manage the status of a household item. In order to meet the ZigBee claim limitation,

 Amazon and Dr. Johnson rely on footnote 25 citing the ZigBee Alliance homepage in an


                                                  7
Case 4:18-cv-00474-ALM Document 409 Filed 02/25/20 Page 9 of 11 PageID #: 21234




 aspirational Appendix to one of 7 articles in the Intel Technology Journal, purportedly

 incorporated by reference in Arling for projected features. Further, the footnote is a citation to a

 single webpage, the home page of the ZigBee Alliance as it existed prior to the November 15,

 2002 publication of the Intel Technology Journal not a citation to the ZigBee Specification itself.

 The ZigBee Specification was a separate standalone document. In fact, the ZigBee Alliance

 homepage from the relevant time period does not even mention the ZigBee Specification. Ex. 4,

 ZigBee Alliance homepage, 2002. Further, the ZigBee Specification was at best an unratified

 draft and only available to members of the Alliance, not the general public. Even Dr. Johnson

 concedes that it wasn’t until 2005 that ZigBee Specification 1.0 was available -- “In 2005, the

 ZigBee Alliance, a group of companies that maintain and publish the ZigBee standard,

 announced the availability of the ZigBee 1.0 specification.” Ex. 3, Johnson Report at ¶ 141.

 This announcement of the 2005 first ratified ZigBee 1.0 specification occurs well after the

 November 15, 2002 publication date of the Intel Technology Journal and therefore this ZigBee

 specification cannot be referenced, let alone incorporated by reference into the Intel Technology

 Journal for further incorporation by reference into Arling. Amazon and Dr. Johnson fail to

 provide a copy of the ZigBee Alliance homepage that existed at the relevant time or a copy of

 any unratified draft of the ZigBee Specification that may have existed at the time of publication

 of the Intel Technology Journal. Just as the Intel Technology Journal is not effectively

 incorporated by reference into Arling, neither is the ZigBee Specification effectively

 incorporated by reference into the Intel Technology Journal. See, Commonwealth Scientific &

 Indus. Research Org. v. Buffalo Tech. (USA), Inc., 542 F.3d 1363, 1372 (Fed. Cir. 2008)

 (footnote citation not an incorporation by reference of all of the material set forth in the

 footnoted reference).

        For the forgoing reasons, Innovation is entitled to judgment as a matter of law that the
 Arling reference does not effectively incorporate the Intel Technology Journal nor the ZigBee

 Specification by reference.




                                                   8
Case 4:18-cv-00474-ALM Document 409 Filed 02/25/20 Page 10 of 11 PageID #: 21235



 Dated: February 25, 2020            Respectfully submitted,

                                     /s/ Donald L. Jackson
                                     Donald L. Jackson
                                     VA Bar No. 42,882 (Admitted E.D. Tex.)
                                     James D. Berquist
                                     VA Bar No. 42,150 (Admitted E.D. Tex.)
                                     Gregory A. Krauss
                                     VA Bar No. 84839 (Admitted E.D. Tex.)
                                     Aldo Noto
                                     VA Bar No. 31,567 (Admitted E.D. Tex.)
                                     Alan A. Wright
                                     VA Bar No. 46506 (Admitted E.D. Tex.)
                                     Davidson Berquist Jackson & Gowdey LLP
                                     8300 Greensboro Dr., Suite 500
                                     McLean, Virginia 22102

                                     Attorneys for Plaintiff Innovation Sciences, LLC




                                        9
Case 4:18-cv-00474-ALM Document 409 Filed 02/25/20 Page 11 of 11 PageID #: 21236



                              CERTIFICATE OF SERVICE
        I hereby certify that all counsel of record who are deemed to have consented to

 electronic service are being served with a copy of this document via the Court’s CM/ECF

 system per Local Rule CV-5(a)(3).




 DATED: February 25, 2020                           /s/ Donald L. Jackson
                                                    Donald L. Jackson
